         Case 2:07-cr-01402-SJO Document 890 Filed 01/22/18 Page 1 of 7 Page ID #:8260
                                                                                                                             CLEAR FORM
 Name Humberto Diaz
 Address 714 W. Olympic Blvd., Suite 450
 City, State, Zip Los Angeles, CA 90015
 Phone 213-745-7477
 Fax 213-745-7447
 E-Mail JHDiazLaw@gmail.com
 G FPD        G Appointed    ✘ CJA
                             G          G Pro Per    G Retained

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
United States of America                                                CASE NUMBER:

                                                                                                   CR-07-1402-SJO-4
                                                    PLAINTIFF(S),
                                  v.
Alberino Magi
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                           Alberino Magi                              hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              G Order (specify):
 ✘ Conviction and Sentence
 G
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       G Judgment (specify):
 G Interlocutory Appeals
 ✘ Sentence imposed:
 G
      15 months in custody                                              G Other (specify):
      $286,230 restitution
 G Bail status:
      Defendant is in custody



Imposed or Filed on            January 16, 2018         . Entered on the docket in this action on January 16, 2018                           .

A copy of said judgment or order is attached hereto.


January 22, 2018                                        /s/ Humberto Diaz
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
                 Case 2:07-cr-01402-SJO Document 890
                                                 889 Filed 01/22/18
                                                           01/16/18 Page 2
                                                                         1 of 7
                                                                              6 Page ID #:8261
                                                                                        #:8254

                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                               Docket No.            CR 07-01402 SJO-4

 Defendant     MAGI, Alberino                                               Social Security No. 0         6   7     9
       Ross, Glen; Ross, Robert; Knowles, Robert;
                                                                            (Last 4 digits)
 akas: Anderson, Ron; Rino; Magi, Alberiono

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                  MONTH       DAY     YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.     Jan.         16,     2018

  COUNSEL                                                            Humberto Diaz, Appointed
                    (Name of Counsel)

     PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                              CONTENDERE               GUILTY
   FINDING           There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                    18 U.S.C. § 371, 18 U.S.C. § 371: Conspiracy to commit mail and wire fraud as charged in Count one (1) of the
                    25-count Indictment.
 JUDGMENT           The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
 AND PROB/          contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
   COMM             Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
   ORDER            custody of the Bureau of Prisons to be imprisoned for a term of:

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is
due immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of
not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility
Program.

Defendant shall pay restitution in the total amount of $286,230 pursuant to 18 U.S.C. § 3663A, to
victims as set forth in a separate victim list prepared by the probation office which this Court adopts
and which reflects the Court's determination of the amount of restitution due to each victim. The
victim list, which shall be forwarded to the fiscal section of the clerk's office, shall remain confidential
to protect the privacy interests of the victims.

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter,
and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the
restitution remains unpaid after release from custody, monthly payments of at least 10% of defendant's
gross monthly income, but not less than $ 100, whichever is greater, during the period of supervised
release. These payments shall begin 30 days after the commencement of supervision. Nominal
restitution payments are ordered as the Court finds that the defendant’s economic circumstances do
not allow for either immediate or future payment of the amount ordered.

If the defendant makes a partial payment, each payee shall receive approximately proportional
payment.

CR-104 (03/11)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 1 of 4
                 Case 2:07-cr-01402-SJO Document 890
                                                 889 Filed 01/22/18
                                                           01/16/18 Page 3
                                                                         2 of 7
                                                                              6 Page ID #:8262
                                                                                        #:8255

 USA vs.         MAGI, Alberino                               Docket No.:   CR 07-01402 SJO-4

The amount of restitution ordered shall be paid as set forth on the list attached to this judgment. If the
defendant makes a partial payment, each payee shall receive approximately proportional payment
unless another priority order or percentage payment is specified.

The defendant shall be held jointly and severally liable with co-defendants, who are ordered to pay
restitution in the case of U.S. V. John Bellini, et al, No. CR 07-01402 SJO. The victims' recovery is
limited to the amount of their loss and the defendant's liability for restitution ceases if and when the
victims receive full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the
defendant does not have the ability to pay interest.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant,
Alberino Magi, is hereby committed on Count one (1) of the 25-count Indictment to the custody of the
Bureau of Prisons for a term of 15 months.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
three (3) years under the following terms and conditions:

1.   The defendant shall comply with the rules and regulations of the United States Probation Office,
General Order 05-02, and General Order 01-05, including the three special conditions delineated in
General Order 01-05.

2.       The defendant shall not commit any violation of local, state, or federal law or ordinance.

3.     The defendant shall refrain from any unlawful use of a controlled substance. The defendant
shall submit to one drug test within 15 days of release from custody and at least two periodic drug
tests thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

4.    During the period of community supervision, the defendant shall pay the special assessment
and restitution in accordance with this judgment’s orders pertaining to such payment.

5.     The defendant shall comply with the immigration rules and regulations of the United States, and
if deported from this country, either voluntarily or involuntarily, not reenter the United States
illegally. The defendant is not required to report to the Probation Office while residing outside of the
United States; however, within 72 hours of release from any custody or any reentry to the United
States during the period of Court-ordered supervision, the defendant shall report for instructions to the
United States Probation Office located at: United States Court House, 312 North Spring Street, Room
600, Los Angeles, California 90012.
CR-104 (03/11)                         JUDGMENT & PROBATION/COMMITMENT ORDER                          Page 2 of 4
                 Case 2:07-cr-01402-SJO Document 890
                                                 889 Filed 01/22/18
                                                           01/16/18 Page 4
                                                                         3 of 7
                                                                              6 Page ID #:8263
                                                                                        #:8256

 USA vs.         MAGI, Alberino                                                Docket No.:       CR 07-01402 SJO-4

6.     The defendant shall not obtain or possess any driver's license, Social Security number, birth
certificate, passport or any other form of identification in any name, other than the defendant's true
legal name, nor shall the defendant use, any name other than his true legal name without the prior
written approval of the Probation Officer.

7.     The defendant shall apply all monies received from income tax refunds to the outstanding
Court-ordered financial obligation. In addition, the defendant shall apply all monies received from
lottery winnings, inheritance, judgments and any anticipated or unexpected financial gains to the
outstanding Court-ordered financial obligation.

8.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

The Court advises the Defendant of his right to appeal.

In the interest of justice the Court grants the government’s motion to dismiss all remaining counts as
to this defendant only.




  In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
  Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
  supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
  supervision for a violation occurring during the supervision period.




             January 16, 2018                                       S. James Otero
             Date                                                   U. S. District Judge/Magistrate Judge

  It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                    Clerk, U.S. District Court



             January 16, 2018                                 By    Victor Paul Cruz
             Filed Date                                             Deputy Clerk



  The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                While the defendant is on probation or supervised release pursuant to this judgment:



CR-104 (03/11)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                 Page 3 of 4
                 Case 2:07-cr-01402-SJO Document 890
                                                 889 Filed 01/22/18
                                                           01/16/18 Page 5
                                                                         4 of 7
                                                                              6 Page ID #:8264
                                                                                        #:8257

 USA vs.         MAGI, Alberino                                                   Docket No.:        CR 07-01402 SJO-4


  1.   The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
  2.   the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
  3.   the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at
       court or probation officer and shall submit a truthful and complete             any time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
  4.   the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
  5.   the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the
  6.   the defendant shall work regularly at a lawful occupation unless                permission of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
  7.   the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
  8.   the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
  9.   the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


  x     The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

            The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
  restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
  to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
  applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
  balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
  residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
  defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
  Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
  the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
  §3563(a)(7).

           Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence:
                                Private victims (individual and corporate),
                                Providers of compensation to private victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.




CR-104 (03/11)                                       JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 4 of 4
                 Case 2:07-cr-01402-SJO Document 890
                                                 889 Filed 01/22/18
                                                           01/16/18 Page 6
                                                                         5 of 7
                                                                              6 Page ID #:8265
                                                                                        #:8258

 USA vs.         MAGI, Alberino                                                  Docket No.:       CR 07-01402 SJO-4




                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

           As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
  inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
  supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
  any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
  shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including
  any business accounts, shall be disclosed to the Probation Officer upon request.

          The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
  approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                  These conditions are in addition to any other conditions imposed by this judgment.




                                                                      RETURN

  I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                      to
  Defendant noted on appeal on
  Defendant released on
  Mandate issued on
  Defendant’s appeal determined on
  Defendant delivered on                                                                    to
      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                      United States Marshal


                                                               By
             Date                                                     Deputy Marshal




                                                                  CERTIFICATE

  I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
  legal custody.

                                                                      Clerk, U.S. District Court
                                                               By

CR-104 (03/11)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 4
                 Case 2:07-cr-01402-SJO Document 890
                                                 889 Filed 01/22/18
                                                           01/16/18 Page 7
                                                                         6 of 7
                                                                              6 Page ID #:8266
                                                                                        #:8259

 USA vs.         MAGI, Alberino                                               Docket No.:     CR 07-01402 SJO-4




             Filed Date                                            Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                    Date




                     U. S. Probation Officer/Designated Witness                   Date




CR-104 (03/11)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 6 of 4
